 

 

Case: 1:15-cv-08534 Document #: 25 Filed: 10/11/16 Page 1 of 26 PagelD #:144

WV

UNITED STATES DISTRICT COURT
NORTHEN DISTRICT OF ILLINOIS

EASTERN DIVISION FJ L ED

)
OCT 11 201 ol

-— THOMAS G
Plaintiff, ) CLERK, U.S. DISTRICT Oo er

(et a = “ERE
RULAND J. FARRER,

toe

V. ) CASE# 15 C 08534
TINTTRYN STATRSANTD )

THE VETERANS ADMINISTRATION _ )
Defendants )

BRIEF IN SUPPORT
OF
MOTION FOR SUMMARY JUDGMENT

ARTE PPR WRTLIE Pe)
Sav EY Bape Vrativas 20

DECLARATION OF VA ATTORNEY

NOW COMES THE PLAINTIFF, Roland J. Parker, submits this brief, pursuant to
fed. K. Civ. F. 6U(b)U) - (6) and US U.S.C. § £519 obstruction of justice in violation of
Section 1519 of Title 18 of the United States Code,in support, and on behalf of the above

captioned complaint against the United States, and states.
 

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1. The AUSA. For the Defendant has submitted a DECLARATION OF VA
ATTORNEY. asking the court to deny the Plaintiff's attempt to resurrect his

complaint as requested in the plaintiffs MOTOIN TO VACATE.

4. Ped. h. Civ. F. 60d L-45-7-(0) provides subject mauter, surisdiction, as weil as,
the Judicial and legal latitude to the court to reinstate the plaintiff's case and
provide Summary dudgment. The AUSA’s statements, in Dept. of veterans Affairs
Response, of intimidation; admonitions to prudently consider going forward with a
request to the court for an favorable decision, so as not to hamper any future,

favorable outcome to this matter.

The plaintiff requests relief by the court under Fed. R. Civ. P. 60(1)

60(b)(1)
SURPRISE

im don 91, 2018 2 ctetus hearing wae hald and the matter of Perker vy LS uree
posted on the Court, docket. On 19, Jan. 2016, the AUSA filed a Motion to Dismiss
with the Court, Clerk. The U.S. mail takes approximately 5-7 days to deliver

parcels from downtown Chicago, to Crete IL. .

Sadly, the plaintiff never received a Notice of Service or a copy of the AUSA’s
Motion to dismiss. But was able to find the pleading online. Even if the notice of
service had been mailed, the U.S. mail takes approximately 5-7 days to deliver mail

Poo, Fo bey PMB pF FX FF
JUL UUW LibOw is Wbiveal BU, LU WiULe 44a,

60(b)(3

MISCONDUCT
 

 

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Not having prior notice of the defendant’s motion, having been submitted and up for
immediate consideration, the plaintiff was totally Blinded, Sided, over whelming,
“SURPRISED |, and totally unprepared to prosecute his compiaint. The piaimtitt
also believes that the way in which the AUSA. timed the filing of the defendant’s.
Motiou to Dismiss, was calculated to deny the Plaintiff amole time to formulate a

proper and affective response to, THE MOTION to DISMISS, satisfying 60(b)(3)

requirement for reinstatement due to misconduct by the AUSA.

ANY OTHER REASON

PE ATH a Tony ing ics Ber PE

BABB Fit REELS

60(b)(6) Empowers the court to grant relief from final judgment for “Any reason

that justifies relief.

(18 U.S.C. § 16519

3. (18 U.S.C. § 1619 Obstruction of justice in violation of Section 1519 of Title18 of
the United States Code. Adds a criminal element to the original matter in as much
as the detendant Hines VA Medicai fospital, and agents representing the

defendant have engaged in violations of the provisions of (78 U.S.C. § 1519.

4. ne piaintitt has made tne Court aware, in a previous picading that information

in the Plaintiffs medical records has been altered.

Au excerpt from (id 0.3.0. § idigvreads. “Opsiructive, couduct undertaken in
contemplation of any matter with in federal Jurisdiction. Should an employee alter

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or destroy evidence, or withheld information from an investigation, for fear that full

 
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disclosure may implicate a rule or regulation with in federal Jurisdiction, liability

for the individual and the organization may attach”

(18 U.S.C.§ 1519

Whoever knowingly alters, destroys, mutilates, conceals, covers up, falsifies. Or
makes a false entry in any record, document, or tangible object with intent to
impede, or obstruct or influence the in vestigation or proper administration of an Ly
matter within the jurisdiction of any department or agency of the United States or
foe Fo Fe ee Fos re we Bae oy EM a pe ge arn ee ve Ee BP OR HF wee HBL DO
44d HALA OU DUOC ia titi Oi Li LY CUCL adr’ Uf Cab Seid eG Lid UTI Lis

title imprisoned not more than 20 years or both.

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hee wha Wide Ree apn ue, s werner Uae ward ar BUe thas dad gradu, Tei u

mace of the apon contrac
the Veterans Administration has published its Mission statement, and in the
document the VA nrofesses to he a force for support and advocacy, in (VA OIG
Strategic Plan 2005-2010, and Message from the Inspector general, March 2005.
See exhibits __- &

This being the case the plaintiff believes the OIG’s office was remiss in its duties
and responsibilities to the plaintiff to the point of, Breach of Contract and
Negligence in the performance of its duties by falling to provide the Piaintiit with
the direct address of the regional Office of the Chief Council. The actions of VA in
failing to perform its dutics to the plaintiff have also cncroached, into violations of
(18 U.S.C. § 1519), Plaintiff also believes that it is a proper legal question to be put
before the court, the liability of the OIG’s conduct in refusing to provide the name
and address of the regional Office of the Chief Council, so as to be in keeping with

its Open contract to support and protect Veterans as they seek to repair the lives

OTP ae snuesien

The formal letter sent to the OIG’s office was explicit in its request for the type of

sasisiance the VA claims in he AT THE REA DY, ta provide in iis cammitments to

its Mission statement.
 

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28 U.S.C. § 2401 (b) allows claims to be filed under the Federal Tort claims Act., by
other than a Form 95 Complaint. Once it meets certain criterion. (see

EXhIbits &_____. _ However some ot the language 1s very vague as to
question of exactly where the claim may be filed. It uses the term agency, but the

Velerans Administration is a large burcaucracy, with agencics wil
surly in this age of digital information storage, there is no reason to withhold the
specific the pertinent information, an exact address,, that would aid the plaintiff

and other veterans seeking this type of information.

The VA’s mission is to serve America’s veterans and their families with dignity and
compassion and to be their principle Advocate in ensuring that they receive the
care, support, and recognition earned in service to this Nation. And it further states
tha thie statement eames fram Ahraham T anoain’s seeand in enmyval address iwven
March 4, 1865,a long with this quote. “To care for him who shall have borne the

battle and for his widow and his orphan.”

Under this light the Legal Theory, of lability on the part of the OIG’s Office
provides mitigating circumstance for the claim the plaintiff did not meet
Mandatory, Administrative Requirements, in as much as the OIG’s office, actions or
[ lack there of], where the Proximate cause of the Plaintiffs failure to meet the (6)
Molin Wang period betwen fing a piepr adimiiaswative claim. She
Administrative requirements of the filing of a Form (95) Complaint, would have

heen met otherwise,

The, AUSA also seeks to prevail by filing defective pleadings, case in point the
ATISA’s motion for dismissal has the plaintiffs first name misspelled so that the
plaintiff name reads as Ronald J. Parker, rendering the pleading a reason in itself
for the court to reject the AUSA’s lack of professionalism in the preparation of the

documents it ties with the court.

As to the lack of supporting documents or exhibits, in support of the Plaintiffs

Motion, witile filing Une Motion the Fiainvitl was nov allowed vo tile Lhe exhivits with
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the motion but with the Court’s permission will place them in evidence during the
status hearing to be held on Oct. 11, 2016. This includes a stamped receipt of a

Form (¥5) compiaint, fied on the 2/** of dan. ZUi6.

The thing is why wasn’t the AUSA, aware of the Form 95 or if he was aware why
did fie not present it in the DECLARATION OF AVA ATTORNEY.
In the face of the character of the AUSA’s defective pleadings, the manipulation of

sk FEE AE chy OR
Wie PINE, iii ao GLuOre.

The pleading filed by the questions the sanctity of this court and challenges the
ee oP 28 Ft Fe epee Prespe, Phe Bee B, Beg Qe ae racy ro Been eB
Avisiiod Ub bac wtilise bo fUie GUI Ui MULE, UaOUU Ui OPUiCUiS all poUrry
researched information at hand.

#2 Fo LI. Te. nde nme dienm Lh, APTS A eddie deed dR DIR
A

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MWe edb SEAS ee Ane wade bk ae tp OAS tad ba plea hn :

bigs Wicadaod Ww WUT Mee kee y aS
reviewed to a conclusion before the VA Independent Medical Evaluator. But in view
of the questionable nature of admissions hy the ATI SA, the plaintiff has no reason to

believes this is true.

7. Further the defendant Hines Medical Hospital, refused a Certified Registered
piece of mail containing the Plaintiff's Interrogatories addressed to Dr. Plichta. The

plaintiff has provided exhibit in support of this fact. See exhibit returned

 

Uertinied Registered ietter addressed to Dr. Elichta/aka € lickster.

. As a fallow up to the original from 95 Complaint, when it was discovered that (18
U13.0. § 1527), aviached iv ihe Uvuiplaint, ine plalutiff weove iv ube General couutil
in Washington DC. And clearly stated in the letter that accompanied the duplicate

form 95 Complaint, that it was not being filed as a From 95 complaint but morcly

being used as a point of reference to introduced the matter the office.

However Ms. Rianca Hall signed off on the declaration, under penalty of perjury, te

erroneous facts and defective document preparation.

Additional miscellaneous axhihits.
 

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1, Letter to Office of chief council 5000 South 5th Ave., Hines, IL; Re: Tort

Claim. Exhibit

. Letter to Office of chief council 5000 South 5th Ave., Hines, IL; Re:

Obstruction In Contemplation Exhibit

. Returned Certified mail envelop addressed to Dr. Plichta, and returned with
claims of not know, and unable to forward. Along with pages of plaintiff's
patient records showing Doctor Plichta as a physician on the plaintiff's case’
Exhibits___3-3-D__,

. Copy of Interrogatories for dr. Plichta. Exhibit___.

. Letter from AUSA explaining failure to provide address for Office of chief

council as initially agreed by email. Exhibit.

. Return Request from the U.S. Dept of justice. in the third paragraph of the
respunse to a ccquest by the plaintiff for a Peow (9D) the Dept. of Justice
response provides a exact address as to where to file the form 95 complaint.
In fact this letter provided the Washington, DC. Office of Chief Council, for
the VA’s DC. Address. Exhibit

D8 yous 7S. dered Tow AQ AQolb-

fees £2? SOF C3244 OT ate

O84 cee ad WB ee tt Pp ited FR oe £9 eNb a coe ddd FL, i Barn A ; a
Wbedit peu eeeUGipL, LOOP Gta 2 OFT Urey \vitdiies, OGLOUu oli. 26 GU. VLOG C4hS NLU Uk

the Chief Council, 5000 5th Ave, Hines, IL. Exhibit
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Therefore the plaintiff prays the court will review and judge the information
contained in this “Brief” along with the supporting documents in the form of
Exhibits through to have sutficient Merit to a support a Court directed,

Verdict of Summary Judgment, in favor of the plaintiff.

I, Roland J. Parker, do hereby affirm, under penalty of perjury that the information

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prescrica 2 LILES, picaulliz is vweuc anu accurate w vit VUSL OL KHUWiICUEE.

rreparcd » Hale Vo

Roland J. Parker Pro Se Litigant

2440 Cothert OT

Crete, IL. 60417

 

IN THE UNITED STATGESDISTRICT COURT FOR THE NORTHERN

DISTRICT OF ILLINOIS, EASTERN DIVISION

NOTICE OF SERVICE

I, Roland J. Parker, hereby certify that on the _11 day of October, 2016 I hand
delivered a copy of this document to the following named defendant’s and their

U.S. Department of Justice

United Siaies Aliorney

Northern District of Illinois

ZACHARY T FARNDON. .FEDERAT, BUTTLDKING

United States Attorney 219 South Dearborn Street, Fifth Floor
Chicago, IL
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8.131A Obstruction of Justice—Destruction, Alteration or Falsification ...
www2.ce9.uscourts.

 
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VA OIG Strategic Plan 2005-2010 BE x L

 

CHAPTER I

MISSION, ORGANIZATION, AND
RESOURCES

 

The Department of Veterans Affairs (VA)

In one form or another, American Governments have provided veterans
benefits since before the Revolutionary War. VA’s historic predecessor
agencies demonstrated our Nation’s long commitment to veterans. The
Department was established on March 15, 1989, when Public Law 100-
527 elevated the Veterans Administration to Cabinet-level status.

MISSION

VA's mission is to serve America’s veterans and their families with dignity
and compassion and to be their principal advocate in ensuring that they
receive the care, support, and recognition earned in service to this
Nation. This mission comes from Abraham Lincoin’s second inaugural
address, given March 4, 1865, “To care for him who shall have borne the
battle and for his widow and his orphan.”

ORGANIZATION

VA has three administrations that serve veterans:

e The Veterans Health Administration (VHA) provides medical care,
medical education, medical research, and back-up to the Department
of Defense (DoD).

® The Veterans Benefits Administration (VBA) provides compensation
and pension, education, vocational rehabilitation, and employment
services, insurance coverage, housing programs, and other transition
benefits and services.

e The National Cemetery Administration (NCA) provides interment,
memorial services, and maintains veteran cemeteries asa permanent
tribute from a grateful Nation.

RESOURCES

VA is the second largest Federal employer. For FY 2004, VA employed
nearly 220,000 personnel and spent approximately $70 billion to
serve 25.2 million veterans. VA maintains facilities in every state, the
District of Columbia, the Commonwealth of Puerto Rico, Guam, and the
Philippines.

 
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Message from the Inspector General
March 2005

The Department of Veterans Affairs (VA) Office of Inspector General (O1G)
is resolved to ensuring VA programs and operations are efficiently and
effectively managed, and free of criminal activity, waste, and abuse. We
will aggressively investigate, arrest, and prosecute persons perpetrating
crimes affecting VA programs. We are committed to fully understanding
the key issues in VA, and focusing our resources on these issues to
maximize the impact we have on helping the Department accomplish
its mission. In accordance with the Government Performance and
Results Act of 1993 (GPRA), the OIG has developed a Strategic Plan
that describes the structure, goals, and strategies for fulfilling these
commitments for Fiscal Years (FY) 2005-2010.

Over the next 6 years, OIG will focus on examining major management
challenges and high-risk areas facing VA within five strategic goals
of health care delivery, benefits processing, financial management,
procurement practices, and information management. In addition to
describing the challenges VA faces and the projects OIG will undertake
in each area, this pian also establishes performance measures to assess
our accomplishments.

These outcome-oriented measures demonstrate how our work is helping
VA achieve its mission, improve customer satisfaction, and protect the
interests of veterans and their families, as well as the taxpayer. In this
6-year period, this plan directs us to:

<= Find over $6 billion in monetary benefits.

= issue 927 reports recommending improvements and corrective
actions.

- Report on 409 inspections of VA's health care and benefits processing
operations.

= Achieve the highest possible ratings for OlG's professionalism and
competence.

= Accomplish 13,226 arrests, indictments, administrative sanctions,
and pretrial diversions, with an 87 percent rate of successful
prosecutions.

We expect this plan to remain relevant to the challenges facing VA, but
we consider it 4 living document that is subject to change as necessary.
We will consult with the Department and Congress periodically and
use the feedback we receive to revise this plan to continually improve
our products and services. OIG remains committed to achieving our
long-term strategic goals through pramoting positive change in VA and,
ultimately, improving services to our Nation's veterans.

EX LA

 
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US. Department of Justice

Civil Division, Torts Branch
Federal Tort Claims Act Staff

 

 

 

Post Office Box 888
Benjamin Franklin Station
Washington. D.C. 20044

GKJ:CJMarvray:cjm
157-16-0

February 11, 2016
Mr. Roland J. Parker
3447 Gilbert Court

Crete, IL 60417 a és ao

Re: Request for Standard Form 95
Dear Mr. Parker:

This is in regard to your email request for one Standard Form 95 to the Department of
Justice (Department) on January 21, 2016. Please find enclosed one Standard Form 95.

If it is your intent to present a valid claim under the Federal Tort Claims Act, the claim
must include a clear explanation of the Federal government’s involvement (specifying which
agencies are involved), a sum certain, and the claimant's or their representative's signature.
Typically, a Standard Form 95 is used to convey this information. However, other written
notification may be used as long as it conforms to the aforementioned specifications. The claim
must then be presented to the Federal agency whose activities gave rise to it within two years of
its date of accrual. 28 U.S.C. § 2401(b).

Because your claim involves the Department of Veterans Affairs, you should submit it to

that agency at the following address:

 
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C

01/27/2016
Roland J. Parker
3447 Gilbert CT.

Crete, IL 60417

Chicago Office of Chief Council

U.S. Department of Veterans Affairs
5000 South 5" Avenue

Bldg. 1, G131

Hines, IL. 60141-3030

Re: TORT CLAIM

To the Chief Council,

On the 23%, of March 2015 an incident occurred following surgery for the removal of a portion of this
claimant’s lower right lung that caused permanent damage to the claimant’s heart; as a result of
electroshock therapy, administered to the claimant after he was assaulted by members of the Edward
Hines Jr. VA Hospital’s medical staff. (see additional documents)

In an attempt to file a claim for damages the claimant sent a Standard Form, 95 to the Office of the
Inspector General. A reply from the OIG’s office was returned ; although the letter from the OIG’s office
clearly stated that the office did not handle Tort Claims, there were no instructions or references to
exactly how to proceed. Without any clear direction and the address to your Offices, the claimant was
left to believe that the process of submission of a claim required before suing the U.S. Gov., as the
Veterans Administration, had been satisfied.

On Oct. 22 2015 an initial Complaint, for damages, was filed in The United States District Court Northern
District of Illinois Eastern Division (see additional documents) and until the AUSA, Jonathan C. Hale, filed
for and was granted a dismissal in the court proceedings the claimant felt that the course being pursued
was correct.

It could be argued but the claimant feels, that by not supplying the necessary information to allow
pursuit of the Tort Claim, the O1G’s office was, by omission, deliberately delaying the claimant's lawful
right to pursue redress in this matter.

On DEC. 12 2015 a request for Admissions was sent to the Hines VA medical Hospital addressed to Dr.
Ryan Plichta, it was returned after being refused for delivery claiming that DR. Plichta was not known by
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the facility and the Hospital was unable to forward the post to DR. Plichta. (Please find photo copy
enclosed)

Along with the photo copy of the returned postal item | have enclosed a copy of a page from a 500, page
Patient Progress Notes, a document that | requested as part of discovery to present at trial to support
my claims as set out in my initial and Amended Complaint. The page clearly shows that Dr. Plichta wasa
physician on my case and as of Mar. 26" 2015 a staff member at Edward Hines Jr. VA Hospital.

Though the case [1:15-cv-08534] was dismissed it was not dismissed with prejudice with the Honorable
Judge Charles P. Kocoras, making it easier to reopen the case should efforts, to resolve this matter
through your office not come to a favorable conclusion for the claimant in a timely manner.

My position at this time is that, added to the OIG’S obvious and purposeful maneuver to delay
addressing the issues of a legitimate claim being properly submitted and the denial of Dr. Plichta’s
association with the Hospital is born of the same desire.

| should think, all things considered, this matter should receive special consideration and a decision in
favor of the claim rendered based on the facts as presented in the Standard Form (95) submitted to this

Absent from the Original complaint was any pursuit of punitive damages based on [Intentional infliction
of Emotional Stress] It was always hoped that a negotiated settlement could be reached in a timely
manner, so that all concerned could get on with their lives. Some with their good health in tacked and
those who had suffered from reckless disregard, duly compensated for the acts of negligence that
prompted the need for this claim.

possibility of an untimely demise.

Cordially,

KebPP Paths

 
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03/16/2016 - | Xx -

Roland J. Parker
3347 Gilbert CT.
Crete, IL. 60417

Attn. Office of Chief Council
Dept. of Veterans Affairs
Edward Hines Jr. VA Hospital
5000 S. 5 AVE.

Hines, IL. 60141
RE: Obstruction, in Contemplation

Dear Mr. Monty Stokes,

| recently requested that due to the omission of designating a correct office or agency where
my initial Form 95 should be submitted, after submitting the form in error to the OIG’s office;
that my Claim be considered in an expeditious manner.

| am not familiar with the average time such matters but feel that due to certain miscues, in the
handling of this matter, and the time lost to me as a result of these miscues, that | be given the
special consideration requested.

It also appears, to me, that the Office of Chief Council is, in some measure, deliberately staling
My Claim, by putting it to the prolonged process that is connected to Claims.

One of the aspects of the Claims process, that ! feet is totally unfair to my redress, is that the
Office of Chief Council is having to consider information that fits the definitions of: Fraud and
Obstruction as contained in attached reference to U.S. Title 11.

The most glaring act of obstruction is that, My, medical records were altered to make it appear
that events that took place on the 23" of March, 2015...actually took place on the 25" of
March, 2015. The way the Progress Notes read they also bear a note of defamation as they
deliberately out line actions, that | as a patient never engaged in.
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Despite the impedance in what appears to be an attempt to deny Me redress, if this office
refuses to proceed to negotiations, as outlined in my previous request, in good faith, to resolve
this matter, attempts to side tract my Claim by simply stalling it will be presented to the proper
office of investigation, as exactly what they are...Obstruction of my Right to proper Federal
consideration of My Claim.

The exact language of the pertinent U.S. Title and penalties that attach appear in the following
text.

Roland J. Parker

03/16/2016

 

Whoever knowingly alters, destroys, mutilates, conceals, covers up, falsifies, or makes a false
entry in any record, document, or tangible object with the intent to impede, obstruct, or influence
the investigation or proper administration of any matter within the Jurisdiction of any department
or agency of the United States or any case filed under title 11, or in relation to or contemplation
of any such matter or case, shall be fined under this title, imprisoned not more than 20 years, or
both. (Emphasis added.)

 

As courts have now recognized, the elements for an offense under § 1519 include: (1) knowingly
(2) destroying or concealing a record or document (3) with the intent to impede or obstruct any
matter (including those contemplated but not yet initiated) within the jurisdiction of the United
States. United States v. Powell, 680 F.3d 350, 355-56 (4th Cir. 2012).

The breadth of this statute in contrast to the other obstruction statutes, and its potential
application in the business setting, are striking, if for no other reason than the relative obscurity
of Section 1519. Notable aspects of Section 1519 that relieve the government of several burdens
include:

The defendant need not know a matter was pending or within federal jurisdiction. Instead, the
“knowingly” element refers only to the obstructive conduct. United States vy. Moyer, 674 F.3d
192, 208 (3rd Cir. 2012). The federal nature of the statute’s prohibition is a jurisdictional
requirement, but not a substantive element under Section 1519. United States v. McRae, 702 F.3d
806, 834 (Sth Cir. 2012).

No nexus requirement. Given that an investigation or matter within federal jurisdiction need not
be initiated or even pending at the time of the obstructive conduct, the government need not
prove any connection between the alleged obstructive conduct and the federal matter. Moyer, at
209; United States v. Gray, 692 F.3d 514, 519-20 (6th Cir. 2012).

Materiality is not an element. As an example, falsification through omission from a log or report
can support a conviction, without proof of the materiality of the omission. Powell, at 356; Moyer,
at 207-08.
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This broad statute should be considered when advising clients at the earliest stages of an internal
investigation or other compliance matter. While counsel may not recommend (and clients may
resist) the issuance of a legal hold notice unless and until a government investigation or civil
litigation has been initiated, Section 1519 expands the reach of such statutes to criminalize
obstructive conduct undertaken in contemplation of any matter within federal jurisdiction.
Should an employee alter or destroy evidence, or withhold information from the investigation,
for fear that full disclosure may implicate a rule or regulation within federal jurisdiction, liability
for the individual and the organization may attach.

 

Enrique Martinez Mathews, a former Registered Nurse at Veteran Affairs (VA) Medical
Center Miami, was sentenced on March 2, 2016, to 60 months in prison after previously pleading
guilty to altering and falsifying VA Computer Records (obstruction and computer related fraud),
in violation of Title 18, United States Code, Sections 1519 and 1030.

Wifredo A. Ferrer, United States Attorney for the Southern District of Florida, and Monty
Stokes, Special Agent in Charge, United States Department of Veteran Affairs, Office of
Inspector General, Criminal Investigations Division (VA OIG), made the announcement.

Looking forwards to hearing from your office soon.

Sincerely,

3447 Gilbert CT.
Crete, IL 60417
708-465-5766

cc [pending] Monty Stokes, Special Agent in Charge, United States Department of Veteran Affairs,
Office of Inspector General, Criminal Investigations Division (VA OIG),
 

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Pah Daeulte ¢- is

Mar 30, 2015@17:18 BLOOD POC GLUCOSE: 98 mg/dL
70 - 360
Evaluation for POC GLU:

PoE QE ENGY 2, Zebu

Ordering Provider:
Report Released..:

 

5000 S 5TH AVENUE HINES, IL 60141-3030

Mar 30, 2015@11:51 BLOOD POC GLUCOSE: 123 mg/dL

TN ~ WEN
Evaluation for POC Gil:

Reference range is 70-99-mg/div-——_

oo

a —
Ordering Provider:\Ryan Plichta MD uo?

pov fe SR ete ee tape a

Performing Lab...: EDWARD J. HINES JR. HOSPITAL [CLIA# 1400988151]
5000 S 5TH AVENUE HINES, IL 60141-3030

70 - 360
Evaluation for POC GLU:
Reference range is 70-99 mg/dL.

  
 

Ordering Provider 4

Report Released..: ; +

Performing Lab...: EDWARD J. HINES JR. HOSPITAL [CLIA# 14D0988151]
2000 S 5TH AVENUE HINES, IL 60141-3030

   

Mar 30, 2015@04:00 PLASMA MAGNESIUM: 2.0 mg/dL
1.7 - 2.4

Mar 30, 2015@04:00 PLASMA POTASSIUM: 4.2 mmol/L

Mar 30, 2015@04:00 PLASMA C02: 33 H mmol/L
21 - 32

Mar 30, 2015@04:00 PLASMA UREA NITROGEN: 14 mg/dL
Fm 91

Mar 30, 20 PLASMA a4 mg / ais
70 - 99

Mar 30, 2015@04:00 PLASMA CREATININE: 0.972 ng/ ah
-67 ~ 1.17 oan

Ref: >60
Evaluation for K:
Plasma potassium values will be slightly lower than serum values.

<60 mL/min/1.73 square meters --> Chronic kidney disease
<15 mL/min/1.73 square meters --> Kidney failure

 

 

acerca ce Rt meee RPE OREM OEE TET TEER Pe Fen
PARKER, ROLAND JEROME [Printed at HINES, IL VAMC
3447 GILBERT COURT

CRETE, ILLINOIS 60417

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leah Daeulte

PoP TRUE WGP INGIY 2, 2ura

 

  
 
 

   
       

   

 

 

Ordering Providerf Ryan Plichta MD
Report Released..: Ma 7 15@18:28
Performing Lab...: EDWARD J. HINES JR. HOSPITAL [CLIA# 14D0988151]
SEU Na dav eee casera
Mar 29, 2015@10:58 BLOOD POC GLUCOSE: 185 mg/dL
70 - 360
Reference range is 70-39 mg/div~-—.
Ordering Provider:\Ryan Plichta MD oS
Rannart Ralanacan Mar PATEAIWN« RK
PEeriorming Lab...: RD GG. HINES TR. tlOSPIYTAL {CLIA# 14b0 GoidSL]
5000 S 5TH AVENUE HINES, IL 60141-3030
Mar 29, 2015@07:04 BLOOD POC GLUCOSE: 137 mg/dL
Evaluation for POC GLU:
Reference range is 70-99 mg/dh.
Report Released..: Mar 29, 2015@07:07
Performing Lab...: EDWARD J. HINES JR. HOSPITAL [(CLIA# 14D0988151}
5000 S 5TH AVENUE HINES, IL 60141-3030
Mar 29, 2Ui58U4:UU PLA
*TONIZED CALCIUM PANEL Merged: Mar 29, 2015@04:24 by 6528
*Merge to:3169151/CH 0329 63
Ordering Provider: Todd A Baker MD MD
Mar 29, 2015@04:00 PLASMA MAGNESIUM: 2.0 mg/dL
Mar 29, 2015@804:00 PLASMA IONIZED CALCIUM: i.15 maol/L
1.02 - 1.37
Mar 29, 2015@04:00 PLASMA POTASSIUM: 3.7 mmol/L
2° ~ A F
Mar 23, UG £LASMA Coe: oe mmol/l
21 - 32
Mar 29, 2015@04:00 PLASMA UREA NITROGEN: 13 mg/dL
7 - 21
70 - 99 :
Mar 29, 2015@04:00 PLASMA CREATININE: 0.928 mg/dL
-67 ~ 1.17
Ref: >=60
Mar 29, 2015@04:00 PLASMA NORMALIZED CALCIUM: 1.14 mmol/L
1.02 ~ 1.37
PATER E AE RE ROU RR U8 OL ee tat UR epee ee ae» cm

 

3447 GILBERT COURT
CRETE, ILLINOIS 60417

jPrinted at HINES, IL VAMC

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§-[)

 

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
ROLAND J. PARKER,
Plaintiffs
VS. No. 15-cv-08534

VETERANS ADMINISTRATION, et al.,
Defendant.

Medical Malpractice Interrogatories to

DR. RYAN PLICHTA

1. State your full name, professional and residence addresses, and attach a current copy of your
curriculum vitae (CV). In the event you do not have a CV, state in detail your professional
qualifications, including your education by identifying schools from which you graduated and
the degrees granted and dates thereof, your medical internships and residencies, fellowships and
a bibliography of your professional writing(s).

2. State whether you have held any position on a committee or with an administrative body at
any hospital. If so, state when you held such position(s) and the duties and responsibilities
involved in such position(s).

3. Have you ever been named as a defendant in a lawsuit arising from alleged malpractice or
professional negligence? If so, state the court, the caption and the case number for each lawsuit.

4. Since the institution of this action, have you been asked to appear before or attend any
meeting of a medical committee or official board of any medical society or other entity for the
purpose of discussing this case? If so, state the date(s) of each such meeting and the name and
address of the committee, society or other entity conducting each meeting.

5. Have you ever testified in court in a medical malpractice case? If so, state the court, the
caption and the case number of each such case, the approximate date of your testimony, whether
you testified as a treating physician or expert and whether you testified on your own behalf or on
behalf of the defendant or the plaintiff.
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PRO-SE LITIGANT
ROLAND J. PARKER
3447 Gilbert CT.
Crete, IL. 60417

708-465-5766
 

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ATTESTATION
U.S. DISTRICT COURT )
NORTHEN DICTRIVT ILLINOIS ) SS.
WESTERN DIVISION )

, being first duly sworn on oath,
deposes and states that he/she is a plaintiff defendant in the above-captioned matter;
that he/she has read the foregoing document, and the answers made herein are true,
correct and complete to the best of his/her knowledge and belief.

 

 

SIGNATURE

SUBSCRIBED and SWORN to before me this

day of , 20

 

 

NOTARY PUBLIC
 

 

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17. Have you (or has anyone acting on your behalf) had any conversations with any person at
any time with regard to the manner in which the care and treatment described in the complaint
was provided, or have you overheard any statement made by any person at any time with regard
to the injuries complained of by the plaintiff or the manner in which the care and treatment
described in the complaint was provided? If so, state the following:

a. The date or dates of such conversation(s) and/or statement(s);

b. The place of such conversation(s) and/or statements(s);

c. All persons present for the conversation(s) and/or statement(s);

d. The matters and things stated by the person in the conversation(s) and/or statement(s);
e. Whether the conversation(s) was oral, written and/or recorded; and

f. Who has possession of the statement(s) if written and/or recorded.

18. Pursuant to Illinois Supreme Court Rule 213(f), provide the name and address of each
witness who will testify at trial and all other information required for each witness.

19. Identify any statements, information and/or documents known to you and requested by any
of the foregoing interrogatories which you claim to be work product or subject to any common
law or statutory privilege, and with respect to each interrogatory, specify the legal basis for the
claim as required by Illinois Supreme Court Rule 201(n).

20. List the name and addresses of all persons (other than yourself and persons heretofore listed)
who have knowledge of the facts regarding the care and treatment complained of in the
complaint filed herein and/or of the injuries claimed to have resulted therefrom.

 
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a Ee
U.S. Department of Justice E- 6

United States Attorney

Northern District of Illinois
Jonathan C. Haile Dirksen Federal Courthouse Phone:312-886-2055
Assistant United States Attorney 219 South Dearborn Street, Fifth Floor Fax: 312-469-6135
Chicago, Illinois 60604

 

 

January 22, 2016

Ronald J. Parker
3447 Gilbert Ct.
Crete, Illinois 60417

Re: VA Tort Claim
Dear Mr. Parker:

When I spoke with you in court, I stated I would e-mail you the address for the VA to
which to send the SF-95 Tort Claim form. When I sent the email, however, it was returned as
undeliverable, so I am sending this letter.

The VA address is:

Chicago Office of Chief Counsel
US Department of Veterans Affairs
5000 South 5th Avenue

Bldg 1, G-131

Hines, IL 60141-3030

Very truly yours,

ZACHARY T. FARDON _
United States Attorney

ee

By: Vee Vas AY ,
~.._ JONATHAN C. HAILE’
Assistant United States Attorney
 

i B.C :169
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CLAIM FOR D AMAGE, INSTRUCTIONS: Please read carefully the instructions onthe | FORM APPROVED
reverse side and supply information requested on both sid f thi OMB NO. 1105-0008
INJ URY, OR DEATH im Ven additional . oa if sh ‘aon terane side for .

additional instructions. :

1. Submit to Appropriate Federal Agency: 2. Name, address of claimant, and claimant's Personal representative if any.

(See instructions on reverse). Number, Street, City, State and Zip code.
CHICAGO OFFICE OF CHIEF COUNCIL ROLAND J. PARKER, 3447 GILBERT CT., CRETE
TUS. DEPARTMENT OF VETERANS AFFAIRS ILLINOIS, 60417

5000 SOUTH 5TH AVENUE, BLDG 1, G-131
HINES IL, 60144

 

3. TYPE OF EMPLOYMENT 4. DATE OF BIRTH 5. MARITAL STATUS 6. DATE AND DAY OF ACCIDENT 7. TIME (A.M. OR P.M.)
[J wurary [J civiuan 12/05/1946 MARRIED 03/23/2015 6:50.P.M.

 

 

 

 

 

8. BASIS OF CLAIM (State in detail the known facts and circumstances attending the damage, injury, or death, identifying persons and Property involved, the place of occurrence and
the cause thereof. Use additional Pages if necessary).

A full description of the incident that occurred on 03/23/2015, is contained on the additional pages provided due to lack of
Space in this section.

 

 

9. PROPERTY DAMAGE

 

NAME AND ADDRESS OF OWNER. IF OTHER THAN CLAIMANT (Number, Street, City, State, and Zip Code).

 

 

 

BRIEFLY DESCRIBE THE PROPERTY, NATURE AND EXTENT OF THE DAMAGE AND THE LOCATION OF WHERE THE PROPERTY MAY BEINSPECTED-- 11
(See instructions on reverse side). ee wm CY i

 

 

 

 

10. PERSONAL INJURY/WRONGFUL DEATH

 

STATE THE NATURE AND EXTENT OF EACH INJURY OR CAUSE OF DEATH, WHICH FORMS THE BASIS OF THE CLAIM. IF OTHER THAN CLAIMANT, STATE THE NAME
OF THE INJURED PERSON OR DECEDENT.

Claimant currently suffers from heart condition a result of receiving electro shock therapy after going into respiratory arrest due
to an intense physical scuffle that lasted more some ten or more minutes with Dr. Plichta and two other staff members, causing
Claimant to suffer permanent, life threating, heart condition and take RIVAROXABAN, to prevent blood clouting &
AMIODARONE HCL, as a result of the electro shock administered during the incident,

 

 

 

 

 

 

 

 

 

11. es WITNESSES
NAME . fo ADORESS (Number, Street, City, State, and Zip Code) _
JANET M BUTLER 3447 GILBERT CT. CRETE, IL. 60417
BRIAN M. MAXFIELD 5000 S. 5TH AVE. HINES, IL. 60141

LENDSEY JOAN ZAVADIL 5000 S. 5TH AVE. HINES, IL. 60141
12, (See instructions on reverse). AMOUNT OF CLAIM (in dollars)
12a. PROPERTY DAMAGE 12b. PERSONAL INJURY 12c. WRONGFUL DEATH 12d. TOTAL (Failure to specify may cause

forfeiture of your rights).
35,000.00 35,000.00

 

 

 

 

1 CERTIFY THAT THE AMOUNT OF CLAIM COVERS ONLY DAMAGES AND INJURIES CAUSED BY THE INCIDENT ABOVE AND AGREE TO ACCEPT SAID AMOUNT IN
FULL SATISFACTION AND FINAL SETTLEMENT OF THIS CLAIM.

 

 

 

 

 

 

 

OR. OF CLAIMANT (See instructions on reverse “)o] = a p : ) lb 13b. PHONE NUMBER OF PERSON SIGNING FORM |14. DATE OF SIGNATURE
\ S-
(7

© Gb Tilennt a bo. 708-465-5766 01/22/2016
FOR PRESENTING CRIMINAL PENALTY FOR PRESENTING FRAUDULENT
FRAUDULENT CLAIM CLAIM OR MAKING FALSE STATEMENTS
The claimant is liable to the United States Government for a civil penalty of not less than Fine, imprisonment, or both, (See 18 U.S.C, 287, 1001.)

$5,000 and not more than $10,000, plus 3 times the amount of damages sustained
by the Government. (See 31 U.S.C. 3729).

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95-7409 28 CFR 14.2

 

 

 

 

 
